       Case 2:94-cr-00062-MHT-SRW Document 1904 Filed 07/16/07 Page 1 of 7




                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
        v.                                         )        CASE NO. 2:94cr62-MHT
                                                   )              (WO)
FRANK SOWERS                                       )

                RECOMMENDATION OF THE MAGISTRATE JUDGE

        Pending before this court (Doc. No. 1900) is a pleading styled as a “Motion for Relief

from Judgment or Order, Federal Rules of Civil Procedure Rule 60(b),” filed by federal

inmate Frank Sowers (“Sowers”) on June 7, 2007.1 In his motion, Sowers asks this court to

vacate a judgment entered on October 20, 2003, in which this court denied Sowers’s 28

U.S.C. § 2255 motion challenging his 1994 convictions and sentence for controlled

substance offenses. Sowers contends that the deficient performance of the counsel who

represented him during an evidentiary hearing on his § 2255 motion constitutes

“extraordinary circumstances” justifying relief under Fed.R.Civ.P. 60(b)(6). For the reasons

now discussed, the court concludes that Sowers is not entitled to any relief.

                                         I. DISCUSSION

        Sowers argues that the court-appointed counsel who represented him during the

hearing on his § 2255 motion rendered ineffective assistance by failing to obtain the


   1
    Although Sowers’s motion is date-stamped “received” on June 13, 2007, under the “mailbox rule,” the
court deems his motion filed on June 7, 2007 – the date Sowers represents that he delivered his motion to
prison authorities for mailing. See Houston v. Lack, 487 U.S. 266, 271-72 (1988); Washington v. United
States, 243 F.3d 1299, 1301 (11th Cir. 2001).
       Case 2:94-cr-00062-MHT-SRW Document 1904 Filed 07/16/07 Page 2 of 7




testimony of the Assistant United States Attorney (“AUSA”) who prosecuted his case.

According to Sowers, testimony from the AUSA would have provided material support for

claims raised in his § 2255 motion that his trial counsel had improperly advised him about

the maximum sentence he could receive upon conviction, resulting, Sowers says, in his

rejection of a plea offer that provided for a sentence substantially shorter than the 30-year

sentence that was ultimately imposed upon his conviction in a jury trial.2

        In his § 2255 motion, which was filed on September 17, 1999 (Doc. No. 1301),

Sowers alleged that his trial counsel “assured petitioner that his maximum sentencing

exposure, should he be convicted by a jury, was twelve (12) years incarceration, and ...

[counsel] did not advise accepting the plea offer.” Sowers further alleged that trial counsel’s

advise “adversely influenced ... [him] to go to trial in the face of overwhelming evidence.”

Sowers maintained that if he had know his true sentencing exposure, “he never would have

proceeded to trial in this matter.” On these claims of trial counsel’s ineffective assistance,

this court held an evidentiary hearing on June 18, 2003. On July 17, 2003, the magistrate

judge entered a recommendation analyzing Sowers’s claims and recommending that his §

2255 motion be denied (Doc. No. 1673). On October 20, 2003, the district court entered a

judgment adopting the magistrate judge’s recommendation and denying the § 2255 motion

(Doc. Nos. 1730 & 1731).



   2
   Sowers states that, prior to the evidentiary hearing on his § 2255 motion, he asked his habeas counsel
numerous times, by mail, phone, and in person, to obtain the testimony of the AUSA. (Doc. No. 1901 at 5.)
He maintains that counsel’s failure to do so amounted to “inexcusable neglect.” (Id. at 6.)

                                                   2
    Case 2:94-cr-00062-MHT-SRW Document 1904 Filed 07/16/07 Page 3 of 7




       Resolution of the ineffective-assistance claims in Sowers’s § 2255 motion depended

in part on this court’s credibility determinations with respect to Sowers’s trial counsel and

Sowers, both of whom testified at the evidentiary hearing. In the instant motion, Sowers

contends that testimony from the AUSA, if presented at the hearing on his § 2255 motion,

would have contradicted his trial counsel’s hearing testimony and could have influenced this

court to make its credibility determinations in Sowers’s favor, rather than trial counsel’s,

resulting in a reasonable likelihood that Sowers would have been granted relief on the

ineffective-assistance-of-counsel claims presented in his § 2255 motion.

       This court notes that there is no constitutional right to counsel in federal habeas

corpus. See McCleskey v. Zant, 499 U.S. 467, 495 (1991). Sowers was appointed counsel

in the proceedings on his § 2255 motion pursuant to Rule 8(c) of the Rules Governing

Section 2255 Proceedings before the United States District Courts, which provides for

appointment of counsel for evidentiary hearings on § 2255 claims. Therefore, the right to

counsel that Sowers’s invokes in the instant motion is not rooted in the Constitution.

       As indicated above, Sowers maintains that his habeas counsel’s allegedly ineffective

assistance in failing to obtain the testimony of the AUSA constitutes “extraordinary

circumstances” justifying relief under Fed.R.Civ.P. 60(b)(6). He argues that this court has

authority to consider his motion under Rule 60(b) without authorization from the Court of

Appeals under Gonzalez v. Crosby, 545 U.S. 524 (2005), because his instant allegations

regarding his habeas counsel’s performance challenge the integrity of the proceedings on his



                                             3
        Case 2:94-cr-00062-MHT-SRW Document 1904 Filed 07/16/07 Page 4 of 7




§ 2255 motion, and not the substance of this court’s resolution of the merits of the claims

presented in his § 2255 motion.

         In Gonzalez, the Supreme Court held that when a Rule 60(b) motion actually “attacks,

not the substance of the federal court’s resolution of a [habeas] claim on the merits, but some

defect in the integrity of the federal habeas proceedings,” the motion is a proper Rule 60(b)

motion, and the district court need not obtain the prior authorization from the Court of

Appeals that is required for a second or successive habeas petition. Gonzalez, 545 U.S. at

532; see 28 U.S.C. § 2244.3 Nevertheless, the Supreme Court drew a sharp distinction

between motions pointing to some defect in the integrity of the federal habeas proceedings

and motions seeking to vacate habeas judgments in order to relitigate or add claims that, at

bottom, attack the legality of a petitioner’s conviction and sentence. See id. at 531-32. Only

the former are properly pursued through Rule 60(b); the latter are not.4 As the Court

explained, “[u]sing Rule 60(b) to present new claims for relief from a ... judgment of



     3
      The Antiterrorism and Effective Death Penalty Act (“AEDPA”) provides that, to file a second or
successive § 2255 motion in the district court, a petitioner must first move in the appropriate court of appeals
for an order authorizing the district court to consider the motion. See 28 U.S.C. § 2244(b)(3)(A). The
appellate court, in turn, must certify that the second or successive § 2255 motion contains “(1) newly
discovered evidence that, if proven and viewed in light of the evidence as a whole, would be sufficient to
establish by clear and convincing evidence that no reasonable factfinder would have found the movant guilty
of the offense; or (2) a new rule of constitutional law, made retroactive to cases on collateral review by the
Supreme Court, that was previously unavailable.” See 28 U.S.C. § 2255 ¶8.
    4
      The Supreme Court in Gonzalez specifically addressed habeas proceedings challenging state-court
convictions under 28 U.S.C. § 2254. However, the Eleventh Circuit has stated that the holding and rationale
of Gonzalez apply equally to § 2255 and § 2254 habeas proceedings. See El-Amin v. United States, No. 05-
1276, 172 Fed.Appx. 942 (11th Cir. Mar. 28, 2006); United States v. Terrell, No. 02-14997, 141 Fed.Appx.
849 (11th Cir. Jul. 19, 2005).


                                                       4
    Case 2:94-cr-00062-MHT-SRW Document 1904 Filed 07/16/07 Page 5 of 7




conviction – even claims couched in the language of a true Rule 60(b) motion – circumvents

AEDPA’s requirement that a new claim be dismissed unless it relies on either a new rule of

constitutional law or newly discovered facts.” Id. at 531. Thus, the Court held that a

nominal Rule 60(b) motion is in effect a second or successive habeas petition when it “seeks

vindication of” or “advances” one or more “claims.” Id. at 531-32. “A motion can ... be said

to bring a ‘claim’ if it attacks the federal court’s previous resolution of a claim on the

merits.” Id. at 532.

       The Supreme Court in Gonzalez made explicit, in terms particularly relevant to

Sowers’s instant motion, that an attack on a habeas judgment “based on the movant’s own

conduct, or his habeas counsel’s omissions, ordinarily does not go the integrity of the

proceedings, but in effect asks for a second chance to have the merits determined favorably.”

Gonzalez, 545 U.S. at 532 n.5 (citations omitted; emphasis added). The instant motion,

though styled as a motion for relief under Fed.R.Civ.P. 60(b) and purporting to attack the

integrity of the previous habeas proceeding, actually seeks to advance claims regarding the

performance of Sowers’s trial counsel that this court previously considered and denied on

substantive, constitutional grounds, i.e., “on the merits.” This court agrees with the

government’s argument that “[t]he whole point of [Sowers’s motion] is to present additional

evidence to the Court in support of his original claim for relief.” (Doc. No. 1903 at 5.) As

such, “[Sowers’s] claim in this case does not call into question the legitimacy of his

representation. It only challenges the presentation of the evidence by his [habeas] counsel,



                                             5
    Case 2:94-cr-00062-MHT-SRW Document 1904 Filed 07/16/07 Page 6 of 7




which does not affect the integrity of the proceedings.” (Id.)

       The instant motion is therefore a second or successive habeas petition. It makes no

difference that the motion itself does not purport to attack this court’s substantive analysis

of Sowers’s habeas claims but, instead, purports to raise a defect in the integrity of the

habeas proceedings, namely habeas counsel’s failure to obtain the testimony of the AUSA.

All that matters is that Sowers is, in actuality, “seek[ing] vindication of” or “advancing”

claims by taking steps that lead inexorably to a merits-based attack on the prior dismissal of

his habeas petition. See Gonzalez, 545 U.S. at 531-32.

       The record in this case reflect that Sowers has not received certification from the

Eleventh Circuit Court of Appeals authorizing this court to consider a successive § 2255

motion. A district court lacks the jurisdiction to consider a successive § 2255 motion where

the movant fails to obtain permission from the appellate court to file a successive motion.

See, e.g., Farris v. United States, 333 F.3d 1211, 1216 (11th Cir. 2003); Boone v. Secretary,

Dept. of Corrections, 377 F.3d 1315, 1317 (11th Cir. 2004). Accordingly, this court lacks

jurisdiction to consider Sowers’s present motion, the practical equivalent of a successive

§ 2255 motion, and the motion is due to be summarily dismissed.

                                    II. CONCLUSION

       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that the motion

filed by Sowers on June 7, 2007, be denied and this case dismissed, as Sowers has failed to

obtain the requisite order from the Eleventh Circuit Court of Appeals authorizing this court



                                              6
    Case 2:94-cr-00062-MHT-SRW Document 1904 Filed 07/16/07 Page 7 of 7




to consider a successive § 2255 motion.

       It is further

       ORDERED that the parties shall file any objections to this Recommendation on or

before July 30, 2007.        A party must specifically identify the findings in the

Recommendation to which objection is made; frivolous, conclusive, or general objections

will not be considered. Failure to file written objections to the Magistrate Judge’s proposed

findings and recommendations shall bar a party from a de novo determination by the District

Court of issues covered in the Recommendation and shall bar the party from attacking on

appeal factual findings accepted or adopted by the District Court except upon grounds of

plain error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982). See

Stein v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982). See also Bonner v. City of

Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc).

       Done this 16th day of July, 2007.



                                        /s/Charles S. Coody
                                   CHARLES S. COODY
                                   CHIEF UNITED STATES MAGISTRATE JUDGE




                                             7
